L

Case1:04-cv-00264-SJ|\/| Docqme t1 -9 Filed 0 /03/2007 Page1 0f1
.*J 71
M L

QBZZ'QSSQL Vcl 'QII!APF-‘BW
walls udcopueu 001
Jaqujaw pxeog ‘ueEioA 'A hew

SZSZ°S€EQL Vd 'BII!APEBW
anng luoll-la>|E`| WLL

.LlEllHXB ‘
S.;l:ll_l.N|V'ld - Jaqwaw p.¢eog |gnl ueA ‘H ucp

 

W.ZQ'§€BQL Vd 'BII!AIJEBIN
{» °ldV "PA[E aE’P!EI -ISWF\H SDVLL
Jaqluew plecg ‘pue[|a|gow '(] ue!.lg

VOSS'SEEQL Vd 'al|!/\PEBW

SX!d 199-law OBZLL

10!,115!(] [ooq:)g lenan pmpang op

Me;uawa|;| ||gH uoseaN ‘|ed!ou!ld ‘uo;ue;g Bnog
helual.uaig pug lsaM ‘|edgoug.ld ‘su.le){ uqop

K.le;uaula|g pu31923 ‘|ed!ou!ld ‘enboe/\ag Auoq;uv
helual.ua|g 10!.1191(] puooag ‘|ed!:)u!.ld ‘JaAouooqog repuan
heluau.la|;| lamng LSJ!:| ‘|ed!ougd ‘eo!Jd Ja;]eM
K.xeluaujagg uo;uelq:)og ‘|Ed!oupd ‘Japeaw un)g
um|n:)!_ung Me;ual.ua|;| 40 .10;:)9.1!(] ‘poog auuezng
1uapua;u!.ladngguea,s!ssv‘||| 'Ja||aH "_.'3 sepqu
(1uapua;u;13dn3 Bugav uaq}) ;uapuawpadng ‘y)pa[og ‘3 [aeqo!W

QSBQL Vd ‘all!APEBW
walls WUIP-M 98£
(1uapua;u!.ladng Bup,ov

am 01 lue;s!ssv Bugov uaq;}(pa.l!;a:) ;uapuaw!.ladng 'e|ooge'| sewer

 

jfk :9003 aun[‘ 03 3003 JaunaAoN iiiagengo.ldde wox;

s!seq annuman u.ua -Bu 2 uo uomsod ,sua)go!d 's|N gels 01 lou uolscoeD

Mmmug aAeq Bu!MO||o; aq; ‘uog;:)a[qo ,s;uepua;aq
Eu!AgeM- 1n0q1!M gomng am )(q pageugu.ua; .laAau sam g!;u!e|d 'a;e.ln:):)eu!

s! .u!w!€zd 40 uoueu!uual.. 018=)11816461 S.uonelvossv 3141 'Nolloar'ao
- mannst

 

':u;e[dulo;) papuaulV 1515 91{1_;0 g qdel§e.led ny
quo_; 199 uog;sod Suyq:)e:-)l 9111 01 59112[91 1; se _;_;;w;e[d go uog]euguuaz pma Hu;_tgq aql

§u;ple§al uogew.lo}u; qlgm sassaul;m L[B 50 sasselppe luaun:) puP ssweu aq1 guns '[

 

saglowb'oua;\ul jo 133 151!:1

